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              Attorneys for Plaintiffs




                              IN THE UNITED STATES BANKRUPTCY COURT

                                        FOR THE DISTRICT OF OREGON

     In re                                           Chapter 7
     David Paul Williams,                            No. 22-60031-tmr7
                          Debtor.

     CELESTE MCENTEE, DYLAN MCENTEE,
     CINDY MCENTEE, DENISE WILSON,
     MARK WILSON, ALAN NEWELL, HILDA
     NEWELL, DARLENE NORDGAARDEN,                    Adversary No.
     and TERRY HAYES, as individuals,
                                                     COMPLAINT OBJECTING TO
                          Plaintiffs,                DISCHARGEABILITY UNDER 11 U.S.C. 523

     DAVID PAUL WILLIAMS,

                          Defendant.


             Celest McEntee, Dylan McEntee, Cindy McEntee, Denise Wilson, Mark Wilson, Alan

     Newell, Hilda Newell, Darlene Nordgaarden, and Terry Hayes, plaintiffs in the above-referenced

     adversary proceeding allege as follows:




Page 1 -     ADVERSARY COMPLAINT                                               SCHWABE, WILLIAMSON & WYATT, P.C.
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                                              BACKGROUND


             1.      In Spring, 2021, the Plaintiffs as individuals and TreeNada Co. (“TreeNada”), a

     Delaware corporation, executed contracts that requires TreeNada to provide labor and products

     for Plaintiffs specifically related to Plaintiffs’ projects known as “Newport Projects.” At all

     material times, TreeNada was owned and actually controlled by the Debtor, David Paul

     Williams, the defendant in this adversary case, together with his wife and another couple.

             2.      Plaintiffs advanced $1,100,000 for raw materials and production costs. After

     paying for and obtaining the necessary permits, Plaintiffs attempted to schedule delivery and

     installation of TreeNada’s products. TreeNada did not complete its work.

             3.      In August, 2021, Plaintiffs learned from TreeNada’s Chief Financial Officer, D.

     Schaezler, that in spite of payment being made by Plaintiffs for raw materials and work, no such

     materials had been acquired and no work had been completed on Plaintiffs’ contracts.

             4.      On or about December 2, 2021, Plaintiffs filed their Amended Complaint in

     Marion County Case No. 21CV3811, alleging that the Debtor through his malfeasance is

     responsible for TreeNada’s debt to Plaintiffs. In response, the Debtor commenced this case.

             5.      The Debtor failed to list his ownership interest in TreeNada Co. on his schedules

     of assets. Defendant Debtor did list the full $1,100,000.00 claim of plaintiffs as an unsecured

     claim in his petition.

             6.      In addition, the Debtor incurred a debt to Civil West Engineering for a Fill and

     Grading Plan for the project above, in the amount of $6,796.75 which he failed to pay or list on

     his schedules. Plaintiffs were forced to pay this amount to Civil West Engineering to obtain

     necessary work product for their project.

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                                                CLAIMS FOR RELIEF
                                              FIRST CLAIM FOR RELIEF

                                                         (Fraud)

               7.      Plaintiffs reallege and incorporate by reference paragraphs 1-6 as if fully set forth

     herein.

               8.      Defendant Debtor intentionally concealed and misrepresented material facts, and

     engaged in fraudulent behavior when he induced plaintiffs to pay $1,100,000.00 for materials

     and product he had no intention of providing.

               9.      Defendant intentionally and fraudulently concealed from plaintiffs a debt to Civil

     West Engineering incurred for the project above, in the amount of $6,796.75. Plaintiffs were

     forced to pay this amount to Civil West Engineering to obtain necessary work product for their

     project.

               10.     Plaintiffs relied, and had a right to rely, on Debtor’s misrepresentations when

     Plaintiffs paid the sum of $1,100,000 to TreeNada.

               11.     Plaintiffs are entitled to be paid in full the amounts they paid to TreeNada,

     $1,100,000.00, plus the additional payment to Civil West Engineering in the amount of

     $6,796.75.


                                           SECOND CLAIM FOR RELIEF
                                (Objection to Dischargeability - 11 U.S.C. § 523(a)(2)(A))


               12.     Plaintiffs reallege and incorporate by reference paragraphs 1-11 as if fully set

     forth herein

               13.     Defendant Debtor knowingly made material misrepresentations, engaged in

Page 3 -   ADVERSARY COMPLAINT                                                          SCHWABE, WILLIAMSON & WYATT, P.C.
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     fraudulent omissions, and engaged in deceptive conduct when he induced plaintiffs to pay

     $1,100,000.00 for materials and product he had no intention of providing. Plaintiffs justifiably

     relied on defendant’s representations, fraudulent omissions, and deceptive conduct because he

     was in a position of ownership and agency of the TreeNada, and he was in a position of authority

     and the subject matter expert on the services the company could perform. Defendant Debtor had

     control of the procurement and production of materials at TreeNada.

                14.     Defendant Debtor engaged in a pattern of conduct intended to defraud Plaintiffs

     through which he obtained money in the amount of $1,100,000.00. This amount is therefore is

     exempt from dischargeability under 11 U.S.C. § 523(a)(2)(A).


                                           THIRD CLAIM FOR RELIEF
                                 (Objection to Dischargeability - 11 U.S.C. § 523(a)(6))


                15.     Plaintiffs reallege and incorporate by reference paragraphs 1-14 as if fully set

     forth herein.

                16.     Defendant Debtor’s conduct described above rises to the level of intentional

     monetary injury to plaintiffs. As a result, the amount of $1,100,000.00 is exempt from

     dischargeability under 11 U.S.C. § 523(a)(6).

                                              REQUEST FOR RELIEF


                WHEREFORE, Plaintiffs pray for the following relief:
           1. That the Court enter an order that Plaintiffs’ claims against Defendant Debtor are non-

     dischargeable under 11 U.S.C. §§ 523(a)(2)(A) and/or 523(a)(6);

           2. For an award of its reasonable costs and disbursements incurred herein; and,

           3.    For such other and further relief as the Court deems proper

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           Dated this 8th day of April, 2022.

                                                SCHWABE, WILLIAMSON & WYATT, P.C.



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                                                      Of Attorneys for Plaintiffs, Celeste Mcentee,
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                                                      Wilson, Mark Wilson, Alan Newell, Hilda
                                                      Newell, Darlene Nordgaarden, and Terry
                                                      Hayes




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